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                                            UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF OKLAHOMA

 United States of America,
                                                  Plaintiff,      Case No.:      19-cr-00119-CVE-1
 vs.                                                              Date:          4/13/2022
                                                                  Court Time:    9:24 a.m. to 9:43 a.m.

 Johnathon Yates Boyd, III,
                                             Defendant(s).      MINUTE SHEET - SENTENCING
Claire V. Eagan, U.S. District Judge               C. Butler, Deputy Clerk         Greg Bloxom, Reporter
Counsel for Plaintiff:     Melody Nelson, Rick Cella    Counsel for Defendant: Samuel Louis, Shane Henry , Ret.
Probation Officer:         Sean Dooley, Jennifer Toppah Interpreter:                                      ☐ sworn;           ☐ N/A
☒   Defendant appears in person with counsel          ☐ Counsel waived                ☐ Evidentiary
☒   Plaintiff & Defendant reviewed PSI:         ☐ Objs by:      ☐ Pltf ☐ Deft; ☒ No Objs;                   ☒ Court adopts/accepts
☒   18:3553 Findings re: PSI/Sentence made;           ☒ Findings re: Plea Agreement Accepted
☒   Sentence re: Guideline; ☒ Findings made; ☒ Departure: ☐ Variance:                 ☐ Upward              ☒ Downward
☐   Victim present and heard; ☐ Victim present ☐ Victim not present
☒   Defendant and counsel asked if they care to say anything before sentence is pronounced, and no cause to the contrary being shown
☒   Motion [Dkt. 41        ]:   ☒ Granted ☐ Denied              ☐ Granted/Denied in part ☐ Moot
☒   Motion [Dkt. 42        ]:   ☒ Granted ☐ Denied              ☐ Granted/Denied in part ☐ Moot
SENTENCE: As to Count(s) 1                                              of the Information                             :
☐   Bureau of Prison for a term of                                 ☐ Concurrent      ☐ Consecutive         ☐   Not Imposed
☒   Probation for a term of          1 year                        ☐ Concurrent      ☐ Consecutive         ☐   Not Eligible
☐   Supervised Release for term of                                 ☐ Concurrent      ☐ Consecutive         ☐   Not Imposed
☐   Fine:                          $                           ☐ With Interest       ☐ Interest Waived     ☐   Not Imposed
☒   Restitution:                   $ 391,475.41                ☐ With Interest       ☒ Interest Waived     ☐   Not Applicable
☒   Special Monetary Assessment $ 100                          ☒ Due Immediately ☐ As Directed
☐   JVTA Assessment (18 USC 3014) $                                 ☐ Waived-Defendant found indigent          ☐ Not Applicable
☐   AVAA Assessment (18 USC 2259) $                                 ☐ Waived-Defendant found indigent          ☐ Not Applicable
☒   Order of Forfeiture [Dkt. 23         ]: is hereby incorporated into the Judgment by reference
STANDARD CONDITIONS as previously adopted by this court including the following additional conditions:
☒ Firearm, Ammunition, et al Restriction                              ☐ Gambling;        ☐ to include treatment
☒ DNA Sample                                                          ☐ Home Detention Condition -              months*
☒ Controlled Substances Restriction                                   ☐ Immigration
☐ Alcohol Abstinence                                                  ☐ Mental Health;        ☐ to include treatment
☐ Anger Management                                                    ☐ No contact with Victim
☐ Community Confinement -             months                          ☐ Restitution
☐ Community Service -             hours                               ☒ Search & Seizure
☐ Computer Restriction                                                ☐ Sex Offender - Paragraphs
☐ Curfew -          months*                                           ☐ Sober Living
☐ Domestic Violence Program                                           ☐ Substance Abuse Treatment & Testing
☐ Drug Testing             ☒ Drug Testing Suspended                   ☐ Workforce Development
☒ Financial                                              *Entire cost of the electronic monitoring shall be paid by:     ☐ Prob ☐ Deft
☒ Defendant advised of right to appeal                   Court recommends to BOP:
☐ Appeal affidavit required                              ☐ Designate a facility located in or near:
                                                         ☐ Maximum Security Facility where Incoming and Outgoing Mail is monitored
                                                         ☐ Residential Drug Abuse Treatment               ☐ Mental/Medical Evaluation
                                                         ☐ Most comprehensive substance abuse treatment available
                                                         ☐ Other:
☐ Deft to self surrender to designated institution by 2:00 p.m. on:                    , U.S.M. to advise of institution; ☐ Findings made
☒ Remaining counts ordered dismissed: none
☐ Defendant remanded to custody of U.S. Marshal
Additional Minutes:

 Minute Sheet Sentencing                                                                                             (CR-01b 12/2021)
